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                 UNITE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE
 RUBINGH,                                           No. 2:20-cv-13134


               Plaintiffs,                          Hon. Linda V. Parker
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

               Defendants,

  and

 CITY OF DETROIT, et al,

               Intervenor-Defendants.

INTERVENOR-DEFENDANT CITY OF DETROIT’S EX PARTE MOTION
                TO EXTEND PAGE LIMIT

        Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

respectfully requests leave to file its Brief in Response to Plaintiffs’ Emergency

Motion for Declaratory, Emergency, and Permanent Injunctive Relief in excess of

the 25-page limit. In support of this request, the City states:
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      1.     Plaintiffs filed an Emergency Motion for Declaratory, Emergency, and

Permanent Injunctive Relief (ECF No. 7) on November 30, 2020. The Motion relies

heavily upon Plaintiffs’ First Amended Complaint, incorporating both the First

Amended Complaint and its exhibits by reference. The First Amended Complaint

and its exhibits are nearly 1,000 pages in length.

      2.     Pursuant to Local Rule 7.1(d)(3), a brief supporting a response to a

motion may not exceed 25 pages. However, the Rule permits parties to apply ex

parte to file a longer brief. Moreover, this Court has encouraged parties to request a

page limit extension “[w]hen page limits are inadequate for a party’s needs ….”

Elhady v Bradley, 438 F. Supp. 3d 797, 821 n. 11 (E.D. Mich. 2020).

      3.     The City requests leave to file a response brief not to exceed 38 pages,

in order to address the full scope of legal and factual issues raised by, and

incorporated into, Plaintiffs’ Motion.

      4.     The City has attempted to limit the length of the brief without

sacrificing clarity and/or its ability to address the factual and legal issues supporting

its response. However, due to the number of factual and legal issues needing to be

addressed, the City has been unable to limit the brief to 25 pages.

      WHEREFORE, the City respectfully requests that this Court permit it to file

a response brief not to exceed 38 pages in response to Plaintiffs’ Emergency Motion

for Declaratory, Emergency, and Permanent Injunctive Relief.
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                                         Respectfully submitted,

                                         FINK BRESSACK

                                         By: /s/ David H. Fink
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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 2, 2020, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

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